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ao 9~ cRe~. l l~sz~                                        CRIMINAL COMPLAINT
                                                                                                      oRs~~~~~
              UNITED STATES DISTRICT COURT                                         CENTRAL DISTRICT OF CALIFORNIA

                                                                            DOCKET NO.
                  UNITED STATES OF AMERICA                                         ~/"T
                                                                                     /~ ~,'a ~ I ~ ~ ,~ n
                                                                                           7        , ~. ~
                                             v.
                                                                            MAGISTRATE'S CASE NO.
                      STEPHEN WILLIAM BEAL


                                   Complaint for violation of Title 18, United States Code, Section 844(1).

  NAME OF MAGISTRATE JiJDGE                                                                                 LOCATION
                                                                            UNITED STATES
  HONORABLE JOHN D. EARLY                                                   MAGISTRATE JUDGE                Santa Ana, California

  DATE OF OFFENSE                                 PLACE OF OFFENSE          ADDRESS OF ACCUSED (IF KNOWN)

  May 15, 2018                                    Orange County

  COMPLAINAN"I"S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

                                                                [18 U.S.C. § 844(i)]
                                                                                                        FILED
                                                                                             CLERK, U.S. DISTRICT CQURT
  See attached affidavit.

                                                                                                    I~t ~• 12019
                                                                                            CENTRAL DISTRICT O     LIFORNIA
                                                                                            BY                      DEPUTY




  BASIS OF COMPLAINANT'S CIIARGE AGAINST THE ACCUSED:

            (See attached affidavit which is incorporated as part of this Complaint)

 MATERIAL WITNESSES IN RELATION TO THIS CIiARGE: N~A


                                                             SIGNATURE OF COMPLAINANT
 Being duly sworn, I declare that the                                                   z/
 foregoing is true and correct to the best                   Jesse Krou a
 of my knowledge.                                            oFFiciai,TITLE
                                                             SPECIAL AGENT —Federal Bureau of Investi ation
 Sworn to before me and subscribed in my presence,

 SIGNATURE OF MAGISTRATE JUIX'E~'>                                                                               DATE

                                                                                                                 March 1, 2019
~ ~> See Federal Rules of Criminal Procedure 3
AusA M. Tak~a mac: wa~-ant                                             JOHN D. EARLY
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                                   AFFIDAVIT

       I, Jesse Kroupa, being duly sworn, declare and state as follows:

                             I.    INTRODUCTION

       1.    I am a Special Agent("SA") with the Federal Bureau ofInvestigation

("FBI"), and have been so employed for approximately three years. I am currently

 assigned to the Orange County Resident Agency, where I specialize in

 investigating crimes involving the International and Domestic Terrorism, including

explosive violations. I am also assigned as an Evidence Response Team("ERT")

 member, where I have received formal and informal training regarding post-blast

investigations and crime scene photography. Prior to joining the FBI,I was

employed by the Sacramento Police Department as a police officer for

approximately nine years and by the Air Force Office of Special Investigations as a

Special Agent for approximately two years. I have a master's degree in forensic

sciences and a bachelor's degree in criminal justice.

       2.    This affidavit is made in support of a criminal complaint against and

arrest warrant for Stephen William BEAL("BEAL")for a violation of 18 U.S.C.

§ 844(i)(Malicious Destruction of a Building Resulting in Death).

       3.    The facts set forth in this affidavit are based upon my personal

observations, my training and experience, and information obtained from various

law enforcement personnel and witnesses. This affidavit is intended to show
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 merely that there is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of, or investigation into, this matter.

Unless specifically indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only. All sums are approximate

and all dates are "on or about" the date stated, unless otherwise stated.

                         II.    LEGAL BACKGROUND

      4.     Based on my training and consultations with the United States Code,I

know that 18 U.S.C. § 844(i) states:

       Whoever maliciously damages or destroys, or attempts to damage or
       destroy, by means of fire or an explosive, any building, vehicle, or
       other real or personal property used in interstate or foreign commerce
       or in any activity affecting interstate or foreign commerce shall be
       imprisoned for not less than 5 years and not more than 20 years, fined
       under this title, or both; and if personal injury results to any person,
       including any public safety officer performing duties as a direct or
       proximate result of conduct prohibited by this subsection, shall be
       imprisoned for not less than 7 years and not more than 40 years, fined
       under this title, or both; and if death results to any person, including
       any public safety officer performing duties as a direct or proximate
       result of conduct prohibited by this subsection, shall also be subject to
       imprisonment for any term of years, or to the death penalty or to life
       imprisonment.




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                  III.   STATEMENT OF PROBABLE CAUSE

      A.     A Mav 15, 2018 Improvised Explosive Device in Aliso Viejo,

            California Killed Ildiko Krainyak and Injured at Least Two

            Others

      5.    Based on my communications with and reports written by Orange

County Sheriff's Department("OCSD")deputies, and FBI and Bureau of Alcohol,

Tobacco, Firearms, and Explosives("ATF") SAs,I learned the following:

            a.      On May 15, 2018, at approximately 1:08 p.m., OCSD deputies

responded to an explosion at the business complex located at 11 Mareblu, Aliso

Viejo, in Orange County, California (the "Mareblu Building"). OCSD deputies

observed smoke and fire coming from the first floor ofthe Mareblu Building and

broken window glass and debris in the parking lot. OCSD deputies evacuated the

immediate area.

            b.      Orange County Fire Authority("OCFA")and OCSD Bomb

Squad personnel entered the building and discovered human remains outside of a

broken window and in the parking lot of an adjacent building. The human remains

were later identified as belonging to Ildiko Krajnyak ("Krajnyak"), who died in the

explosion. OCFA located two women who were injured, but alive, outside a day

spa called Magyar Kozmetica(the "Spa")in Suite 110A of the Mareblu Building.

The Spa appeared to be the location of the explosion. The injured women, Victim


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#1 and Victim #2, were patrons ofthe Spa, which Krajnyak owned with BEAL and

which Krajnyak operated.

             c.    OCSD,FBI ERT,and bomb technicians responded to the scene

and entered the Mareblu Building. After clearing the building for possible

secondary explosive devices, law enforcement personnel located the blast seat, or

origin, ofthe explosion inside Suite 110A. Law enforcement personnel observed

significant damage to the building's interior and exterior, consistent with an

explosive incident. Suite 110A's ceiling was blown open and the floor of the unit

above Suite 110A was buckled. The glass from the unit's windows was blown into

the parking lot.

      6.     FBI SAs, OCSD deputies, and fire investigators spoke with Victim #1

on several occasions. I have reviewed the reports and transcripts ofthese

interviews and learned the following:

             a.    On May 15, 2018, Victim #1 and Victim #2 went to the Spa and

received spa treatments from Krajnyak. They were the only patrons ofthe Spa

when the explosion occurred.

             b.    After their spa treatments, Victim #1 saw Krajnyak at a desk

attempting to open a cardboard box. Victim #1 described the box as brown and of

a size X by X by X.' As soon as Krajnyak appeared to open the box, Victim #1


      1 The actual size ofthe box described by Victim #1 can be provided to the
Court if requested.
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saw it explode and recalled being blown backwards by the explosion onto the

floor. She also saw flames and smoke. Following the explosion, Victim #1 and

Victim #2 left the building and waited for help to arrive. Victim #1 did not see

what happened to Krajnyak.

      B.    Identification and Search of BEAL's Residence

      7.    I have reviewed an Operational Area Hotline record maintained by the

OCSD. The record stated that on May 15, 2018, BEAL called the OCSD and

stated that he had heard ofthe explosion in Aliso Viejo and that he was an owner

and co-tenant ofthe esthetician office in unit 110. He also stated Krajnyak was his

friend and "ex-wife," and provided his telephone number.

      8.    Based on my review of OCSD reports and aconsent-to-search form

signed by BEAL,I learned the following:

            a.     On May 15, 2018, OCSD personnel and FBI personnel

including Special Agent Bomb Technicians("SABT")arrived at BEAL's

residence in Long Beach. BEAL was there and consented to a search ofthe

residence. In the garage, OCSD bomb technicians found precursors to make

explosives. The labels on the containers included potassium perchlorate (a

common oxidizer used in pyrotechnics), red gum (an organic fuel and binder

commonly used in pyrotechnics), and several unmarked metal tins resembling

black powder containers.


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      9.     On May 16, 2018 at approximately 1:16 a.m., the Honorable Glenn

Salter, Judge ofthe Superior Court of California, County of Orange, signed a

search warrant for BEAL's residence and BEAL's vehicle.

      10.    Based on my review ofFBI and OCSD reports, as well as pictures

taken during the search of BEAL's residence, I learned that law enforcement

found, among others, the following items in BEAL's residence:

             a.    Approximately 130 pounds of explosive precursors, including

potassium perchlorate, potassium chlorate, ammonium perchlorate, aluminum

powder and flake, and sulfur powder;

             b.   Containers of black powder and numerous other unknown

energetic powders(which were determined to be energetic based on field testing);

             c.   A homemade device with references to rocketry and containing

wires of multiple colors("Homemade Device");

             d.   Electric matches and wires;

             e.   A battery connector; and

             £    Tubes and materials consistent with the making of model

rockets.

      C.     BEAL's Statements to Law Enforcement

      1 1.   FBI SAs and OCSD deputies interviewed BEAL three times from

May 15-16, 2018. The first two interviews were conducted at BEAL's residence.
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The third interview was conducted when BEAL, without prompting, voluntarily

drove to the OCSD office in Aliso Viejo, California. I have reviewed the reports

and transcripts ofthese interviews and learned the following:

              a.    BEAL stated his romantic relationship with Krajnyak "cooled"

in early 2018. BEAL stated he took a trip with Krajnyak to Portugal during which

Krajnyak admitted to Beal that she was in an intimate relationship with another

man from Northern California.2 BEAL stated he was hurt and betrayed when

Krajnyak told him this.

              b.    BEAL stated the only individuals with keys to the Spa were

Krajnyak, BEAL,the building owner, the cleaning crew, and the handyman.

              c.    BEAL stated he was last at the Mareblu Building on May 3, 4,

or 5, 2018 to pick up the rent check. He stated he was also there on May 7, 8, or 9,

2018, to check whether the Spa had a 220-volt outlet. BEAL stated he had access

to Krajnyak's schedule and knew she boarded a plane from Hungary to the United

States on May 13, 2018.

             d.     BEAL stated that he met his new girlfriend on April 21, 2018

and that things were going well.

             e.     BEAL stated that Krajnyak told him she had been assaulted

three to four years earlier.


      2 Travel records for BEAL and Krajnyak show that this trip occurred March
8-16, 2018.
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             f.     BEAL denied involvement in the May 15, 2018 bombing.

BEAL stated that as co-signer on the lease, he is "screwed financially" and will

likely have to declare bankruptcy.

             g.     BEAL said he had chemicals in his garage for making

fireworks and model rockets. He stated he is a model rocket hobbyist. BEAL

stated that it had been years since he made model rockets or fireworks.

      D.     Discovery of a Battery and Bits of Wire at the Spa

       12.   I have reviewed FBI laboratory reports and photographs taken by ERT

of items recovered from the Spa after the explosion and learned the following:

             a.     Law enforcement recovered a partially destroyed Company A

brand battery at the Spa. FBI laboratory personnel stated the extent of damage and

location ofthe battery meant that it was in intimate contact with the explosive

device when the device went off.

             b.     Law enforcement recovered bits of wire ("bits of wire") at the

Spa. FBI laboratory personnel stated the extent of damage and location ofthe

battery meant that they were in close contact with the explosive device when the

device went off. The reports further stated that wire from Homemade Device

found at BEAL's residence was compared with the bits of wire found at the

Mareblu Building. Both items contained 24-25 American Gauge wire, with the

same color plastic insulation, and were initially part of a parallel, multi-conductor
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cord. Based on the metallurgic and paint/polymer chemistry, FBI laboratory

personnel stated that no meaningful differences were observed. The report also

stated that this type of wire is commonly used in pyrotechnic charge connections

and for the manufacture of electric matches and detonators.

      E.     The Chemical Makeup of the Charge

      13.    I have reviewed reports from the FBI laboratory in Quantico, Virginia,

including the comprehensive report dated January 17, 2019, and learned the

following:

             a.    The reports stated that residues of certain chemicals were

detected on samples obtained from Krajnyak and the Spa. The chemicals included

chlorates, perchlorates, potassium, and ammonium residues.

             b.    The reports stated that swabs from the interior of BEAL's

model year 2017 vehicle were tested and identified residues of chlorate, sulfate,

and potassium ions.

             c.    The reports stated the explosion at the Mareblu Building on

May 15, 2018 was caused by an improvised explosive device ("IED"). The

chemical analysis of swabs taken from the Mareblu Building could indicate the use

of a chlorate or perchlorate based oxidizer within an explosive composition.

There could have been a variety offuels, such as aluminum or sulfur.3 The


      3 Based on my training and experience, I know that an IED would require an
oxidizer and a fuel to explode.
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 partially destroyed Company A brand battery located at the Spa was found in a

 condition consistent with being in intimate contact with the explosives at the

 moment of initiation.

       14.    According to records obtained from Toyota, BEAL purchased a new

2017 Toyota Prius on February 15, 2018.

       15.    According to SABTs, potassium chlorate and potassium perchlorate

are strong and common oxidizers used in the manufacture of pyrotechnic powders

(among those mixtures are compositions known as flash powders). Also, the

results reflected in the laboratory report regarding the samples from the victim and

the Spa are chemically consistent with residue that would be found if the materials

recovered from BEAL's residence were used to make the IED. Further, the results

in the laboratory reports regarding the samples taken from BEAL's vehicle are

chemically consistent with residue that would be found if BEAL's vehicle was

used to transport an IED.

       F.     BEAL Drove the Prius to the Spa Four Days Before the Blast

       16.    According to records provided by BEAL's cellular telephone carrier,

on May 11, 2018 at approximately 4:16 p.m., BEAL's cellular telephone connected

to the cellular tower at 15 Mareblu, Aliso Viejo, California. This tower is adjacent

to the Spa.




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      17.    I have reviewed closed-circuit television("CCTV")footage from a

preschool across the street from the Mareblu Building. I learned that on May 11,

2018, at approximately 4:24 p.m., a silver 2017 Toyota Prius, matching the

description of BEAL's Toyota Prius, drove northbound on Mareblu toward the

Spa. At approximately 4:34 p.m., the footage showed the Toyota Prius departing

southbound on Mareblu away from the Spa.

      18.    I have reviewed May 11, 2018 CCTV footage from a retail store

located on La Paz Road in Aliso Viejo, California, approximately one block away

from the Mareblu Building. In the footage, I observed that at approximately 4:35

p.m., a 2017 Toyota Prius entered the retail store parking lot. At approximately

4:49 p.m., a white male adult wearing blue jeans and along-sleeve dark blue

patterned button-up shirt exited the retail store. As explained in paragraph 29,

below, an FBI SA reviewed the video recording and recognized BEAL to be the

white male adult.

      G.     BEAL's Purchase of Items Connected to the Bombing

      19.    Evidence gathered in this investigation shows that BEAL purchased a

Company A brand battery and a cardboard box of a size X by X by X of the same

types used in the bombing approximately one week before the bombing.




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             1.    Purchase of the Company A Brand Battery

      20.    I have reviewed a report written by FBI TFO Jeffrey Williams and

learned the following:

             a.    On June 7, 2018, TFO Williams went to a Company A store in

Long Beach, California.

             b.    Company A personnel provided TFO Williams a receipt of a

Company A brand battery purchased with cash on May 8, 2018 at approximately

2:30 p.m. Company A also provided surveillance footage ofthe purchaser.

      21.    I reviewed the May 8, 2018 surveillance footage for the battery

purchase and learned that the purchaser was a white male adult, wearing a white t-

shirt and jeans with sunglasses on his head. As explained in paragraph 29, below,

an FBI SA reviewed video recordings ofthe purchase and recognized BEAL as the

purchaser.

             2.    Purchase of a Company Y Cardboard Box

      22.    I have reviewed a report written by FBI SA Christopher Rowe and

learned the following:

             a.    On June 7, 2018, SA Rowe went to a Company Y store located

in Aliso Viejo, California.




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             b.     Company Y personnel provided SA Rowe a receipt for the

purchase of three identical cardboard boxes(X by X by X)on May 7, 2018 at

12:43 p.m. and the surveillance footage ofthe purchaser.

      23.    I reviewed the May 7, 2018 surveillance footage for the cardboard

boxes purchase and learned that the purchaser was a white male adult, wearing a

white t-shirt and jeans with sunglasses on his head. As explained in paragraph 29,

below, an FBI SA reviewed video recordings ofthe purchase and recognized

BEAL as the purchaser.

      24.    I reviewed a report written by FBI SA Rafik Mattar and learned that

on June 7, 2018, he interviewed Victim #1. During that interview, SA Mattar

showed Victim 1 one ofthe cardboard boxes that BEAL purchased from Company

Y on May 7, 2018. When asked if it looked like the same box Krajnyak opened

prior to the explosion, Victim 1 responded "yes, it was just like that box, if not the

exact same one."

      H.     Additional Witness Statements

      25.    On May 21, 2018, the FBI interviewed Witness #1. I have reviewed

the report of the interview and learned that Witness #1 lived in Arizona. Witness

#1 had known Krajnyak for sixteen years. Witness #1 traveled from Arizona to

California once a month to receive spa services from Krajnyak. Witness #1 last

saw Krajnyak on May 4, 2018 when Witness #1 had an appointment at the Spa.


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      26.    On May 25, 2018, the FBI interviewed Witness #2. I have read a

report ofthe interview and learned that Witness #2 received spa treatments from

Krajnyak approximately every two to three months. Witness #2 stated that

Krajnyak told her that her boyfriend was jealous, controlling, and possessive of

her. Krajnyak stated she was scared because he would threaten her and randomly

come to the Spa. While Witness #2 did not know his name, Witness #2 stated that

he lived in Long Beach, California and provided a picture of him sent to her by

Krajnyak As explained in paragraph 29, below, an FBI SA reviewed the picture

and recognized BEAL as the individual.

      27.   On May 27, 2018, the FBI interviewed Witness #3. I have read a

report ofthe interview and learned that Witness #3 was a close friend and relative

of Krajnyak's family and went to Krajnyak for spa treatments. In April 2018,

Krajnyak told Witness #3 that Krajnyak was afraid that her ex-boyfriend, BEAL,

would follow her and harm her.

      28.   On May 21, 2018,the FBI interviewed Witness #4. I have read a

report ofthe interview and learned that Witness #4 was a client of Krajnyak. She

moved to Arizona, and despite living in Arizona, would travel to the Mareblu

Building to obtain spa services from Krajnyak once a month.




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      I.     Identification of BEAL

      29.    SA Mattar was physically present for and participated in the interview

ofBEAL on May 16, 2018 that lasted over ten hours. SA Mattar told me that he

reviewed the (1)CCTV footage ofthe white male adult who purchased the

Company Y cardboard boxes on May 7, 2018;(2)CCTV footage ofthe white male

adult who purchased the Company A brand battery on May 8, 2018;(3)CCTV

footage ofthe white male adult who exited the retail store at 4:49 p.m. on May 11,

2018; and (4) photograph provided by Witness #3 of Krajnyak's boyfriend. SA

Mattar told me that the individual in the CCTV footage listed above and

photograph is BEAL.

///




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                               IV.   CONCLUSION

       30.    For the reasons described above,I respectfully submit there is

 probable cause to believe that BEAL committed a violation of 18 U.S.C. § 844(i)

(Malicious Destruction of a Building Resulting in Death).



                                                          2
                                           JESSE     OUPA,Special gent
                                           Federal Bureau ofInvestigation

 Subscribed to and sworn before me this
 l j~r day of March 2019.



             STATES MAGISTRATE JUD




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